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                                            PARTIES

       3.      Plaintiff Paul E. Enochs, M.D., is a physician practicing bariatric surgery in Cary,

North Carolina. Dr. Enochs is a resident of Wake County, North Carolina.

       4.      Defendant Blue Cross and Blue Shield of North Carolina (“Blue Cross” or

“Defendant”) is a North Carolina non-profit corporation with its principal place of business in

Durham, North Carolina.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this action pursuant to N.C. Gen. Stat. § 7A-243,

based on an amount in controversy that exceeds $25,000, exclusive of interest and costs.

       6.      This Court has personal jurisdiction over Defendant pursuant to N.C. Gen. Stat.

§ 1-75.4 because Defendant is incorporated under North Carolina law and has both its headquarters

and principal place of business in North Carolina.

       7.      Venue is appropriate because Blue Cross’s registered and principal office is in

Durham County.

                                   STATEMENT OF FACTS

I.     DR. ENOCHS’S PRACTICE

       8.      Dr. Enochs is a bariatric surgeon. Bariatric surgery is performed for the treatment

of morbid (clinically severe) obesity. Such surgery could be a gastric restrictive procedure, a

malabsorptive procedure, and (rarely) a vagal nerve blocking therapy. Attached as Exhibit A, is

the Blue Cross Corporate Medical Policy on Surgery for Morbid Obesity, which describes the

various subtypes of these procedures.

       9.       In addition to bariatric surgery, Dr. Enochs performs general surgeries for issues

related to the gastrointestinal tract and/or the treatment of, or relief from, post-bariatric surgery

symptoms. Such general surgeries could include, without limitation, gall bladder removal, hernia



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repair, elimination of adhesions, small bowel resection to eliminate or shorten redundant parts of

bowel left after a prior surgery. Some of these general surgeries to treat symptoms are performed

years after an initial bariatric surgery, which in many cases was performed by a different surgeon.

       10.     Dr. Enochs has a “payor mix of patients that includes private insurance, Medicare,

Medicaid, and self-pay patients. Most of Dr. Enochs’s patients have private insurance. Of those

patients who have private insurance, an overwhelming number of those patients are insured by

Blue Cross.

       11.     Patients who require bariatric surgery are obese. This means that these patients

have many more comorbidities than other types of surgical patients, including for example patients

who need orthopedic surgery. Bariatric patients often have some combination of the following

comorbidities (in addition to obesity): type 2 diabetes mellitus, hypertension, dyslipidemia (high

cholesterol), cardiovascular disease, stroke, sleep apnea, gallbladder disease, hyperuricemia and

gout, osteoarthritis, venous stasis disease (collection of blood in the lower limbs), and soft tissue

infections.

       12.     Dr. Enochs practices medicine through a practice called Bariatric Specialist of

North Carolina (“BSNC”). The clinical practice of that entity was acquired by and merged into

Triangle Orthopaedic Associates, P.A. (“TOA”) on April 1, 2014, and BSNC’s clinical practice,

while working under the BSNC trade name, is now a division of TOA. In July 2016, TOA changed

its name to EmergeOrtho, P.A.

       13.     Prior to BSNC merging into TOA/EmergeOrtho, Dr. Enochs was credentialed with

Blue Cross through BSNC. When BSNC was merged into TOA/EmergeOrtho, Dr. Enochs

became credentialed with Blue Cross as a network provider through TOA/EmergeOrtho.




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       14.     Dr. Enochs started BSNC in 2003 in Louisburg, North Carolina, as the only

practicing bariatric surgeon at the time in Franklin County or Wake County. In 2007 after starting

the bariatric programs in Rex Hospital and subsequently WakeMed Hospital, Dr. Enochs moved

BSNC to Cary, North Carolina. Because Dr. Enochs has been performing bariatric surgery in the

Triangle area of North Carolina for 15 years, longer than any other private practice bariatric

surgeon in the region, Dr. Enochs has more patients and a higher volume than most bariatric

surgeons. Dr. Enochs also has many return patients who come many years after an initial

procedure either for a revision or treatment of other related symptoms. Often such “follow-up”

patients had their initial procedure performed by a different surgeon, sometimes in another state.

Dr. Enochs’s volume of both new patients and return patients is substantially higher than most

bariatric surgeons in the region.

II.    BLUE CROSS HEALTH INSURANCE COVERAGE

       15.     Blue Cross is the largest provider of private health insurance in North Carolina.

       16.     According to a study by the Henry J. Kaiser Family Foundation, in 2014, Blue

Cross had 73% of the market share of the “Large Group Market” enrollment in North Carolina. A

copy of the report is attached as Exhibit B.

       17.     Blue Cross claims to have more than 3.89 million customers. According to a study

by the Henry J. Kaiser Family Foundation there were only 5.26 million North Carolinians with

private health insurance in 2014. A copy of the report is attached as Exhibit C. This means that

Blue Cross has nearly 74% of the private insurance market share in North Carolina.

       18.     Dr. Enochs has provided services to patients covered by Blue Cross health

insurance as a “participating provider” through the Network Participation Agreement that

TOA/EmergeOrtho has with Blue Cross. A copy of that Agreement (with reimbursement rate

information removed) is attached as Exhibit D.


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       19.     The overwhelming majority of Dr. Enochs’s private insurance patients are covered

by Blue Cross health insurance. The removal of Dr. Enochs from the Blue Cross network would

be devastating to his practice and livelihood. While patients can choose whatever doctor they

want, in reality most patients cannot afford to choose a doctor who is not in their insurance

company’s network.

       20.     Upon information and belief, Blue Cross’s “out of network” policy benefits, require

the patient to pay co-insurance from 30% up to 100% of the allowable charges on medical services

provided, compared to “in network” benefits of only 10 to 20% of the allowable charges. “Out of

network” policy benefits require the patient to pay annual deductibles ranging from $4,000 to

$8,000, compared to “in network” benefits requiring patients to pay annual deductibles ranging

from $0 to $3,000.

       21.     In a report in the New England Journal of Medicine (N Engl J Med 2016; 375:1915-

1918, November 17, 2016), Zack Cooper and Fiona Scott Morton noted that the Federal Reserve

has found that almost half of all Americans could not afford to pay $400 in unexpected expenses

without selling assets or borrowing money. In that report, the authors noted that if a patient goes

to a health provider who is not in their plan’s network, insurance might not cover any of the

bill -- or might require the patient to pay a much bigger share of the bill out-of-pocket than they

would have if they had gone to an in-network provider.

III.   BLUE CROSS’S EFFORTS TO REMOVE DR. ENOCHS

       A. 2015 Decredentialing

       22.     In a letter dated May 29, 2015, Blue Cross gave Dr. Enochs notice that it was

decredentialing him. This meant that it would not be renewing Dr. Enochs’s credentials and he

would thereafter not be an “in network” provider for patients covered by Blue Cross health

insurance.


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       23.     The 2015 decredentialing notice was purportedly based on five issues:

(1) submission of CPT codes for prior authorization that were “different from the surgical

procedures performed (SIPS procedures),” (2) performance of SIPS procedures that Blue Cross

considered investigational, (3) certain readmissions of patients for complications after surgery,

(4) failure to respond to a letter purportedly sent by Blue Cross in March 2015, and (5) continued

performance of the SIPS procedure after purportedly receiving the Blue Cross letter.

       24.     The network provider agreement adopts by reference Blue Cross’s policies and

procedures. Many of those policies and procedures are found in the “BlueBook,” which is

accessible    at   http://www.bcbsnc.com/assets/providers/public/pdfs/BlueBook_July2016.pdf.

Excerpts of the BlueBook are also attached as Exhibit E. Sections 14.4.1 and 14.4.2 of the

BlueBook grant a participating provider who has been given a notice of decredentialing a right to

appeal. That appeal right has two possible levels: Level I is an appeal on written submission and

documentation to the Blue Cross credentialing committee. If that appeal is unsuccessful, the

provider has a right to Level II appeal, which consists of a formal hearing with witnesses being

presented, questioned, and cross-examined.

       25.     Dr. Enochs exercised his right to appeal the 2015 decredentialing notice, which

included Blue Cross’s apparent attempt to instruct Dr. Enochs how to practice medicine. After

expending time and money to have attorneys prepare that Level I appeal, Dr. Enochs prevailed,

showing that he had not misled Blue Cross and that his readmissions rates was lower than the

average for bariatric surgeons working at Blue Cross “Centers of Excellence.” Blue Cross reversed

its decision to decredential Dr. Enochs.

       26.     During Dr. Enoch’s process of making submissions in support of that appeal, Blue

Cross, through in-house counsel Henry Jay, asked Dr. Enochs to submit an “action plan” for Dr.




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Enochs to agree with Blue Cross on some parameters regarding CPT codes and what to tell Blue

Cross-covered patients about Blue Cross’s view of the SIPS procedure so that future

misunderstandings could be avoided. Counsel for Dr. Enochs submitted such an action plan to

Blue Cross on July 24, 2015.

          27.   A week later, on August 3, 2015, Blue Cross sent its letter, from Medical Director

Dr. John Smith, informing Dr. Enochs that he would be re-credentialed. In that letter Blue Cross

requested that Dr. Enochs and his counsel meet with Blue Cross to discuss the action plan.

          28.   Blue Cross and Dr. Enochs had that meeting on October 23, 2015. Among others,

Dr. Smith and Henry Jay attended that meeting on behalf of Blue Cross. Mr. Jay acknowledged

that Dr. Enochs, through counsel, had submitted a proposed action plan. Mr. Jay stated that Blue

Cross wanted to make some changes to the proposed plan and promised to send proposed revisions

to the action plan to Dr. Enochs’s counsel. However, neither Henry Jay nor anyone else at Blue

Cross, sent any proposed revisions to the action plan. When counsel for Dr. Enochs sought to

reach Henry Jay several months later, it was learned that Henry Jay had left employment with Blue

Cross. Blue Cross never delivered any proposed revisions to the action plan nor any action plan

of its own.

          B. 2016 Decredentialing

          29.   In a letter dated July 6, 2016, Blue Cross once again notified Dr. Enochs that it was

decredentialing him. This time the decredentialing was purportedly based on 14 items that fell

into four categories: (1) six readmissions (with two more later added), (2) five admissions without

prior authorization, (3) a case in which Dr. Enochs requested that anyone other than a specific Blue

Cross medical director review the prior authorization request, and (4) two cases in which

authorization was obtained for one procedure but another procedure was purportedly performed

(SIPS).


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       30.     Once again, in his Level I appeal of this 2016 decredentialing, Dr. Enochs showed

Blue Cross that his readmission rate is below the average rate of all bariatric surgeons working in

Blue Cross “Centers of Excellence.”        He also showed that the admissions without prior

authorization were for non-bariatric surgeries that did not require prior authorization and that his

practice had given Blue Cross prior notice along with a request for authorization in each case

anyway. Dr. Enochs explained his reason for asking to avoid a certain medical director when Dr.

Enochs had a patient who had had a lap band procedure a number of years earlier that was now

causing the patient severe symptoms and the patient needed the lap band removed and a different

procedure done and the particular medical director he wished to avoid had never approved a

revision of a lap band to another procedure. Dr. Enochs also explained that the two cases that were

approved for a two-anastomosis duodenal switch actually had that procedure done and that the

hospital had accidentally pulled up the notes template for SIPS (a one-anastomosis duodenal

switch). Thus, even though the original paperwork appeared to show a different procedure being

done form the one that was approved, that is not what actually happened.

       31.     Despite Dr. Enochs’s clear explanations in his Level I appeal of the issues presented

in the 2016 Blue Cross decredentialing letter, Blue Cross upheld its decision to decredential Dr.

Enochs.

       32.     Dr. Enochs then made a Level II appeal under Section 14.4.2 of the BlueBook. For

this Level II appeal, Blue Cross engaged an Appeals Committee consisting of a panel of three

practitioners who were not employed by Blue Cross and not in direct competition with Dr. Enochs.

       33.     The Level II appeal was structured as a one-day trial with less formality than a

courtroom trial, but with openings, closing, fact and expert witnesses, and direct and cross

examinations. A copy of the letter from Blue Cross attorney Chad Hansen regarding the structure,




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rules, and requirements of the Level II appeal hearing is attached as Exhibit F. The hearing date

noted in that letter was ultimately changed to March 16, 2017.

       34.     Dr. Enochs and his counsel exerted an enormous amount of effort into putting the

materials together for the Level II hearing. Dr. Enochs engaged and paid for a bariatric surgeon

from Virginia to review the cases as issue and serve as an expert witness at the hearing. The

hearing itself, which took place late in the day and into the evening of March 16, 2017, lasted

approximately 6 hours. Dr. Enochs expended tens of thousands of dollars for the process.

       35.     On March 17, 2017, the day after the Level II appeal hearing, Chad Hansen, the

Blue Cross attorney who had convened the hearing panel and who represented Blue Cross at the

hearing, contacted counsel for Dr. Enochs and stated -- after the hearing the night before -- it was

“highly unlikely that decredentialing goes through.” In other words, Dr. Enochs had won. Mr.

Hansen also encouraged Dr. Enochs’s lawyer to counsel Dr. Enochs to try to engage with Blue

Cross -- through Dr. Smith and through Mark Werner, Blue Cross’s Vice President or Network

Management (who also attended the hearing). Counsel for Dr. Enochs informed Mr. Hansen that

Dr. Enochs was seriously interested in such engagement and that Dr. Enochs and his counsel

believed that Blue Cross and Dr. Enochs can learn from each other. On that call, Mr. Hansen also

informed Dr. Enochs’s counsel that that day would be his last day at Blue Cross because he was

going back into practice at his former law firm. He stated that another Blue Cross attorney who

had been in attendance at the hearing, Hilary Cooper, would be the new legal contact at Blue Cross

for Dr. Enochs and his lawyers. Mr. Hansen forward Ms. Cooper’s contact information and

encouraged Dr. Enochs’s lawyer to reach out through Ms. Cooper to set up a meeting with Dr.

Smith and Mr. Werner.




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          36.   According to the BlueBook and to the Blue Cross letter setting for the Level II

appeal requirements, the results of the hearing were to be determined within 5 days after the

hearing and mailed by certified letter to Dr. Enochs. On the March 17 call, Dr. Enochs’s lawyer

asked Mr. Hansen whether it would be appropriate to make contact immediately to try to set up

meetings with Dr. Smith and Mr. Werner or whether Dr. Enochs should wait for the 5 days to run

and the official decision to be issued. Mr. Hansen said that it would be best to let the 5 days run

first.

          37.   Having received no decision in the mail, counsel for Dr. Enochs contacted Hilary

Cooper on March 28, 2017. In a phone call with Dr. Enochs’s counsel that day, Ms. Cooper

confirmed that Dr. Enochs had won the appeal and that the decision was to reverse the

decredentialing. Ms. Cooper told Dr. Enochs’s attorney that Blue Cross was working on “some

stipulations” to include in the decision. When Dr. Enochs’s attorney informed Ms. Cooper that

Dr. Enochs would like to set up meetings between Dr. Enochs and Dr. Smith and Mr. Warner, as

suggested by Chad Hansen, Ms. Cooper suggested and agreed that it would make sense for such a

meeting to occur “before the stipulations are finalized.”

          38.   Thereafter, the parties worked to set up the planned meeting. After exchanging

voicemails on April 5, Dr. Enochs’s lawyer and Ms. Cooper engaged in email correspondence

from April 5 through April 21, 2017 regarding the meeting. A copy of that email thread is attached

as Exhibit G. In that correspondence, a meeting was proposed for April 19, but then postponed.

Later, a meeting time of 3:00-4:00 p.m. on April 26 was agreed. As the date approached, counsel

for Dr. Enochs inquired about the location of the meeting. On April 20, Ms. Cooper responded

that the meeting would have to be canceled because she was also leaving Blue Cross. Ms. Cooper




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stated that Brian Vick, another Blue Cross attorney, would be the new point of contact for Dr.

Enochs and his lawyers.

       39.     The next day, counsel for Dr. Enochs wrote to Mr. Vick and asked for new

availability information for a meeting with Mr. Werner and Dr. Smith.

       C. 2017 Termination

       40.     For more than a week after Dr. Enochs’s counsel reached out to Mr. Vick seeking

to set up the promised meeting, Mr. Vick did not respond. Nor did anyone else from Blue Cross

respond. Then on May 1, 2017, Mr. Vick sent an email informing counsel for Dr. Enochs that

Blue Cross “will not be proceeding further with the recent credentialing action involving Dr.

Enochs” because Blue Cross had notified EmergeOrtho that Blue Cross was “exercising [its] right

under [its] Network Participation Agreement (“NPA”) with EmergeOrtho to remove Dr. Enochs

from the roster of participating providers under the NPA.” Mr. Vick went on to say that “[t]his is

a discretionary termination of Dr. Enochs’ participation in the provider network that serves Blue

Cross NC’s non-Medicare health plans and is being made without cause and upon 90-days’

notice.” A copy of that email is attached as Exhibit H.

       41.     On May 2, 2017, EmergeOrtho received by email from Blue Cross an electronic

version of the letter that was going out by mail that day and that was ultimately delivered to

EmergeOrtho. A copy of that letter is attached as Exhibit I.

       42.     In the May 2, 2017 Blue Cross letter, signed by Mark Werner, Blue Cross again

stated that it is “exercising its rights under Sections 2.2.6.3 and 5.2 of your Network Participation

Agreement (“NPA”) to remove Dr. Paul Enochs from your Practitioner Roster without cause and

upon 90-days prior written notice.”




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        43.       A review of those sections, however, reveals that the NPA does not give Blue Cross

the right to remove Dr. Enochs from the Practitioner Roster without cause. See Exhibit D. Section

2.2.6.3 states:

                  We reserve the right to remove individual Practitioners from the
                  Practitioner Roster Exhibit in the event of exclusion pursuant to
                  Sections 2.3.2 or 5.2.

        Section 5.2 states:

                  Termination. This Agreement may be terminated at any time by
                  either party, with cause, upon providing Written Notice of intent to
                  terminate due to material breach of this Agreement and allowing the
                  breaching party no fewer than thirty (30) days to cure. If at the end
                  of such 30-day period the breach has not been cured, the non-
                  breaching party may terminate immediately upon Written Notice to
                  the breaching party. After the initial term, this Agreement may be
                  terminated by either party, without requirement of cause, upon no
                  fewer than ninety (90) days’ prior Written Notice to the other, such
                  termination to be effective no earlier than the last day of the initial
                  term. In addition, this Agreement may be terminated immediately
                  by us at our sole option and discretion upon any of the occurrences
                  described in Sections 2.2.1.4, 2.2.4 or 2.2.5.2 through 2.2.5.5, and
                  2.3.2, whether or not you notify us as may be required by such
                  Sections.

        By its plain language, Section 5.2 only gives Blue Cross rights regarding termination of

the entire agreement. It says nothing about an “event of exclusion” of an individual practitioner.

Furthermore, even if anything in those sections could be somehow twisted to allow the removal

of an individual practitioner, nothing in those sections provides Blue Cross a right to remove an

individual practitioner without cause.

        44.       On May 3, 2017, Blue Cross’s Mark Werner sent EmergeOrtho another letter. This

one informed EmergeOrtho that Blue Cross was providing 30 days written notice that it was

amending the Medicare Provider Agreement between Blue Cross and EmergeOrtho.                   That

agreement concerns the plan through which Blue Cross provides coverage to individuals who have

selected coverage under Part C of the United States government’s Medicare Program (also known


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as Medicare Advantage). The amendment was to add a clause allowing Blue Cross to remove any

individual participating provider without cause on 90 days prior written notice. A copy of that

letter is attached as Exhibit J. While the letter informed EmergeOrtho that it had a right to file an

objection to the amendment, which action would give Blue Cross the right to terminate the entire

contract, EmergeOrtho took no action -- presumably because of the threat of Blue Cross

terminating the contract.

       45.     Blue Cross’s action in amending that contract appears to violate North Carolina law

because it did not provide at least 60 days from the date of receipt to object to the proposed

amendment as required by N.C. Gen. Stat. § 58-50-280(b).

       46.     On June 8, 2017, Blue Cross’s Mark Werner sent a letter to EmergeOrtho removing

Dr. Enochs as a participating provider under the Medicare Provider Agreement, on 90 days written

notice “without cause.” A copy of that letter is attached as Exhibit K.

       47.     Blue Cross’s action in attempting to remove Dr. Enochs as a practitioner from the

Medicare Advantage Program contract pursuant to the new amendment Blue Cross had

purportedly added to the contract, and the amendment itself, violate federal law and rules

governing the requirements for terminating a physician's participation in a Medicare Advantage

organization. Specifically, 42 C.F.R. § 422.202 requires that:

               An MA organization that suspends or terminates an agreement
               under which the physician provides services to MA plan enrollees
               must give the affected individual written notice of the following:

               (i)     The reasons for the action, including, if relevant, the
                       standards and profiling data used to evaluate the physician
                       and the numbers and mix of physicians needed by the MA
                       organization.

               (ii)    The affected physician's right to appeal the action and the
                       process and timing for requesting a hearing.




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       D. Notices to Dr. Enochs’s Patients

       48.     On May 11, Blue Cross began delivering letters to Dr. Enochs’s patients indicating

that Dr. Enochs “is no longer part of [Blue Cross’s] network as of July 30, 2017.” Among other

things, those letters stated the following:

               This most often means that the doctor has left the office, moved, or
               retired. Sometimes there are also other reasons. If Paul E. Enochs,
               M.D. has not left the area and you keep getting care from this doctor,
               your level of health plan coverage will change because they are no
               longer in our network. You can see another doctor at this practice
               if he or she is in our network.

       A redacted copy of one such letter is attached as Exhibit L.

       49.     Upon information and belief, Blue Cross sent a letter like this to every Blue Cross-

covered patient who saw Dr. Enochs at any time within the year leading up to the date of the letter.

IV.    INDICIA OF BLUE CROSS’S PARTIAL INTENT

       50.     Upon information and belief, Dr. Janet McCauley, Senior Medical Director at Blue

Cross, along with three of her colleagues, participated in a conference call in October 2016 with

several bariatric surgeons who are members of the American Society for Metabolic and Bariatric

Surgery (“ASMBS”). Upon information and belief, Dr. McCauley and her colleagues told the

surgeons that Blue Cross was losing money on its ACA exchange-provided health insurance

business and that Blue Cross was looking for places to save money. Upon information and belief,

Dr. McCauley and her colleagues stated that they had been told that a decision had been made on

the benefit side of Blue Cross to try to slow down bariatric surgery for twelve months, and they

stated that they were being forced to figure out a medical policy to match accordingly. One or

more of those surgeons reported that conversation to attendees, including Dr. Enochs, during the

State Chapter meeting at the national ASMBS conference in New Orleans in November 2016.




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V.     DR. ENOCHS’S STATUS UNDER THE CONTRACTS

       51.     Dr. Enochs’s protections under the contract are afforded him because, as an

individual practitioner at EmergeOrtho, he is a party to the contract. Section 2.2.6 of the contract

states “[a]ll individual Practitioners subject to the terms of this Agreement are listed on the

Practitioner Roster Exhibit.”      When the clinical practice of BSNC was merged into

TOA/EmergeOrtho in 2014, Dr. Enochs was, pursuant to the contract, added to the Practitioner

Roster Exhibit.

       52.     Consistent with Dr. Enochs’s status as a party to the contract, the contract -- along

with Blue Cross policies incorporated into it -- provides Dr. Enochs certain rights, including the

right to a fair hearing on decredentialing decisions, and the right not to be terminated as a

Participating Provider other than as allowed by the contract, including implied covenants and other

applicable law.


                                DECLARATORY JUDGMENT

       53.     Plaintiff realleges and incorporates all of the foregoing paragraphs of the complaint.

       54.     The Court should declare that Blue Cross has no right to remove Dr. Enochs as a

participating provider under the plain language of the contract.

       55.     The Court should declare that Blue Cross’s attempt to remove Dr. Enochs as a

participating provider is inextricably linked to the issues for which there was an appeal and a

hearing, and that Blue Cross’s attempt to remove Dr. Enochs as a participating provider is a bad

faith end run around the fair hearing process and results.

       56.     The Court should declare that Blue Cross’s attempt to remove Dr. Enochs as a

participating provider is a violation of the public policy of North Carolina prohibiting an insurer

from discriminating against providers who serve populations that present a risk of higher-than-



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average claims or health care services utilization as stated in the North Carolina General Statutes

at §58-3-200(e) (“No insurer shall establish provider selection or contract renewal standards or

procedures that are designed to avoid or otherwise have the effect of avoiding enrolling high-risk

populations by excluding providers because they are located in geographic areas that contain high-

risk populations or because they treat or specialize in treating populations that present a risk of

higher-than-average claims or health care services utilization.” (emphasis added))

       57.     The Court should declare that Blue Cross’s attempt to remove Dr. Enochs as a

participating provider is a violation of public policy because the June 8, 2017 termination notice

removing Dr. Enochs as a participating provider under the Medicare Advantage fails to comply

with federal law and rules governing the requirements for terminating a physician’s participation

in a Medicare Advantage organization, specifically, 42 C.F.R. § 422.202.


                    BREACH OF CONTRACT - IMPROPER REMOVAL

       58.     Plaintiff realleges and incorporates all of the foregoing paragraphs of the complaint.

       59.     Blue Cross has materially breached the provider Agreement by purporting to

remove Dr. Enochs from the network without cause when no provision of the agreement allows

Blue Cross to take such action and by sending letters to Dr. Enochs’s patients telling them that Dr.

Enochs is being removed from the network.

       60.     Dr. Enochs has been damaged by Blue Cross’s breach of the contract in an amount

to be proved at trial, but not less than $25,000.


      BREACH OF CONTRACT - DUTY OF GOOD FAITH AND FAIR DEALING

       61.     Plaintiff realleges and incorporates all of the foregoing paragraphs of the complaint.




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        62.      Blue Cross has breached the implied covenant of good faith and fair dealing by

causing Dr. Enochs to go through a Level II appeal process to avoid decredentialing and then

refusing to honor the results of that process.

        63.      Dr. Enochs has been damaged by Blue Cross’s breach of the contract in an amount

to be proved at trial, but not less than $25,000.


                      TORTIOUS INTERFERENCE WITH CONTRACT

        64.      Plaintiff realleges and incorporates all of the foregoing paragraphs of the complaint.

        65.      Dr. Enochs has contract relationships with his patients who are Blue Cross

customers. Those patients have set appointments and have agreed to pay him for his services --

both through their insurance companies and by contributing their co-pays and/or co-insurance

payments.

        66.      Blue Cross is well aware of Dr. Enochs’s relationships with his patients.

        67.      By removing Dr. Enochs from the Blue Cross network, Blue Cross is intentionally

inducing Dr. Enochs’s patients to discontinue their relationship with Dr. Enochs, as evidenced in

part by the letter that Blue Cross sent to Dr. Enochs’s patients.

        68.      Blue Cross has interfered with Dr. Enochs’s relationship with his patients without

justification.

        69.      Blue Cross’s interference with Dr. Enochs’s relationship with his patients has

caused actual pecuniary harm and will continue to cause such harm to Dr. Enochs.


   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

        70.      Plaintiff realleges and incorporates all of the foregoing paragraphs of the complaint.

        71.      Dr. Enochs has relationships with his patients who are Blue Cross customers even

if those patients do not have pending appointments with or requests for services from Dr. Enochs.


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Those patients -- absent Blue Cross’s interference -- will set future appointments and seek services

from Dr. Enochs.

        72.      Blue Cross is well aware of Dr. Enochs’s relationships with his patients.

        73.      By removing Dr. Enochs from the Blue Cross network, Blue Cross is intentionally

interfering with Dr. Enochs’s relationship with his patients and, as evidenced in part by the letter

that Blue Cross sent to Dr. Enochs’s patients, causing them not to set future appointments with Dr.

Enochs.

        74.      Blue Cross has interfered with Dr. Enochs’s relationship with his patients without

justification.

        75.      Blue Cross’s interference with Dr. Enochs’s relationship with his patients has

caused actual pecuniary harm and will continue to cause such harm to Dr. Enochs.


                                               FRAUD

        76.      Plaintiff realleges and incorporates all of the foregoing paragraphs of the complaint.

        77.      Blue Cross stated in its policies that a provider who is decredentialed will have a

right to appeal at two levels and will have the opportunity to have Blue Cross’s decredentialing

decision reversed.

        78.      Blue Cross specifically stated to Dr. Enochs in its January 19, 2017 to his lawyer

that Dr. Enochs’s Level II appeal of decredentialing would be heard by a panel of three

practitioners and that the results of that appeal would determine whether the decredentialing would

go through or whether Dr. Enochs would be allowed to remain a participating provider in the Blue

Cross network.

        79.      Blue Cross’s admission that the decision after the Level II appeals hearing was to

reverse decredentialing and Blue Cross’s action shortly thereafter to remove Dr. Enochs from



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being a participating provider in the Blue Cross network anyway shows that Blue Cross had no

intention of honoring the results of the decredentialing appeal process.

        80.     Dr. Enochs relied on Blue Cross’s representation that the results of the Level II

appeals process would be honored, and he spend substantial time and money to participate in that

process and convince the panel that decredentialing was inappropriate.

        81.     Dr. Enochs was damaged by his reliance on Blue Cross’s false representations.


                      UNFAIR AND DECEPTIVE TRADE PRACTICES

        82.     Plaintiff realleges and incorporates all of the foregoing paragraphs of the complaint.

        83.     Blue Cross’s actions described in this Complaint were unfair and deceptive in

violation of N.C. Gen. Stat. § 75-1.1.

        84.     Blue Cross’s actions described in this Complaint were in commerce as required by

that statute.

        85.     Dr. Enochs has been and will continued to be harmed by Blue Cross’s unfair and

deceptive actions.

                                      PRAYER FOR RELIEF

        Plaintiff prays:

    1. That this matter be tried before a jury.

    2. That the Court declare that:

        (a)     Blue Cross has no right to remove Dr. Enochs as a participating provider under
                the plain language of the contract.

        (b)     Blue Cross’s attempt to remove Dr. Enochs as a participating provider is
                inextricably linked to the issues for which there was an appeal and a hearing, and
                Blue Cross’s attempt to remove Dr. Enochs as a participating provider is a bad
                faith end run around the fair hearing process and results.

        (c)     Blue Cross’s attempt to remove Dr. Enochs as a participating provider is a
                violation of the public policy of North Carolina prohibiting an insurer from



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